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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-cv-24044-MIDDLEBROOKS


   EDUARDO SOTO, as Personal
   Representative of the Estate of
   Osvaldo Soto,

           Plaintiff,

   v.

   BOOKING.COM B.V.,
   BOOKING HOLDINGS INC., and
   EXPEDIA GROUP, INC.,

         Defendants.
   _________________________________/


                                     ORDER OF RECUSAL

           THE UNDERSIGNED MAGISTRATE JUDGE, to whom the above-styled case has

   been assigned, hereby recuses herself and refers the matter to the Clerk of Court for

   reassignment pursuant to 28 U.S.C. § 455(a) and S.D. Fla. Local Rule 3.6.

           DONE AND ORDERED in Chambers at Miami, Florida, this 18th day of December,

   2023.


                                              ____________________________________
                                              MELISSA DAMIAN
                                              UNITED STATES MAGISTRATE JUDGE


           This cause will be reassigned by the Clerk’s Office in accordance with the Local Rules

   for the Southern District of Florida and the applicable Administrative Order.
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         All documents for filing in this case shall carry the following case number and

                             Middlebrooks      Reid
   designation: 20-24044-CIV-________________/_________________.

                                      20th day of December, 2023, Miami, Florida.
         BY ORDER OF THE COURT this _______


                                                ANGELA E. NOBLE
                                                Clerk of Court



                                                     /s/Valerie Kemp
                                                By:________________________



   Copies to:
   Hon. Donald M. Middlebrooks
   Counsel of Record




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